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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
vs Case No. 1:19-cr-117
Hon. Rebert J. Jonker
LARRY CHARLES INMAN, Hon. Phillip J. Green
Defendant.

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/

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/

DEFENDANT LARRY CHARLES INMAN’S BRIEF IN SUPPORT OF MOTION TO

DISMISS PURSUANT TO USCS FED RULES CRIM PROC R 12(b)(2).
(b)(3)(A)(v).(b)(3)(B iii) AND (v) AND/OR FOR A BILL OF PARTICULARS PURSUANT

TO RULE7
DEFENDANT LARRY CHARLES INMAN’S BRIEF IN SUPPORT OF MOTION TO

IDENTIFY EVIDENCE THE GOVERNMENT INTENDS TO INTRODUCE TO THE JURY
PURSUANT TO USCS FED RULES CRIM PROC R 12(4)(B)

NOW COMES THE DEFENDANT LARRY CHARLES INMAN, by and through his attorneys
of record NEUMANN LAW GROUP and for his brief in support of motion to dismiss pursuant

to USCS Fed Rules Crim Proc R 12(b)(2), (b)(3)(A)(v),(b)(3)(B) (iii) and (v) and/or for a Bill of
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Particulars and for an order requiring the Government to identify evidence it intends to introduce
before the jury pursuant to Fed Rules Crim Proc R 12(4)(B) submits the following.
The Indictment

Defendant Inman is charged in a three count indictment. Count 1 is Attempted
Extortion Under Color of Official Right in violation of U.S.C. sec 1951 (the Hobbs Act). Count
2 is Solicitation of a Bribe in violation of 18 U.S.C. sec 666(a)(1)(B). Count 3 is False
Statement to the FBI in violation of 18 U.S.C. sec 1001(a)(2). All charges arise from incidents
surrounding a vote by the Michigan House of Representatives on an initiative petition intended
to repeal Michigan’s “Prevailing Wage Law.”

The Indictment recites two text messages sent from Mr. Inman’s cell phone to a
representative of the Michigan Regional Council of Carpenters and Millwrights (“MRCCM”) on
June 3 and 4, 2018, several days before the June 6, 2018 vote which approved the repeal. The
allegation is that these text messages were sent in an attempt by Defendant Inman to obtain
campaign donations in exchange for his favorable vote on the initiative petition (a “No” majority
vote of either the Michigan House or Senate was the desired result for MRCCM).

The Initiative Petition

An initiative petition is an attempt by the citizenry or the state to make new law or repeal
existing law. The petition must be signed by, at least, 8 percent of the total electorate who cast
ballots for candidates for Governor in the last gubernatorial election. The initiative petition must
be filed with the Secretary of State and Board of State Canvassers who then check the validity
and sufficiency of the signatures on the petition, Once certified, the initiative is sent to both
houses of the Legislature which then has 40 days to enact (a majority vote of both houses of

“Yes”) or to reject the initiative (a majority vote of either the state House or state Senate of
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“No”). If the initiative petition is not approved by the legislature, it is placed on the general
ballot for the next statewide election (Michigan Election Law 1954 PA 116, Article 2, Sec 9,
Michigan Const of 1963, as amended, MCL 168.476, 477, ). In short, a “No” vote on the
initiative petition would have been a vote in favor of not passing the initiative into law by the
legislature. If the “No” votes had prevailed in the state House of Representatives of which
Defendant was a member, the initiative petition would have been placed on the November 2018
ballot to be voted on by the general electorate of the state.

In a light most favorable to the government, therefore, if Defendant was attempting to
assist the MRCCM (union) in getting the measure on the general ballot, his vote, in no way
would have affected commerce. It would have simply sent the measure to the general ballot for

determination by the people of the State of Michigan instead of by operation of the legislature.

I. Jurisdictional Requirements

All three charges have specific jurisdictional requirements.

a. The Hobbs Act

The Hobbs Act prohibits “Interference with Commerce by Threats or Violence” and
states:

(a) Whoever in any way or degree obstructs, delays, or affects commerce or the
movement of any article or commodity in commerce, by robbery or extortion or
attempts or conspires so to do, or commits or threatens physical violence to any person
or property in furtherance of a plan or purpose to do anything in violation of this section
shall be fined under this title or imprisoned not more than twenty years or both.

“Extortion” is defined in the act as:
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(2) The term “extortion” means the obtaining of property from another, with his

consent, induced by wrongful use of actual or threatened force, violence or fear, or

under color of official right.

A violation of the Hobbs Act requires a defendant “to affect commerce” by “robbery or
extortion”, The claimed affect on commerce was the alleged offer, made via text message, by
Representative Inman to a MRCCM official to vote “No” on the initiative repealing the
Prevailing Wage Law and thus send it to the general ballot in the state election in November.
The indictment does not allege any effect on commerce through this action by the Defendant.

The Supreme Court has held that legislation enacted based on the Commerce Clause of
the U.S. Constitution must be tied to some affect on commerce. In United States v. Morrison,
329 U.S. 598 (2000), the Supreme Court struck down 42 USCS 1398, which was enacted by
Congress to provide civil remedies to victims of gender-motivated bias, ruling that Congress
exceeded its authority under the Federal Constitution’s commerce clause (Art I, 8 cl 3) as gender
based crimes of violence were not economic activity and that such crimes did not have a
substantial impact on interstate commerce. The Court stated:

As we observed in Lopez, modern Commerce Clause jurisprudence has "identified three

broad categories of activity that Congress may regulate under its commerce power”. 514

U.S. at 558 (cites omitted)."First, Congress may regulate the use of the channels of

interstate commerce." (cites omitted) "Second, Congress is empowered to regulate and

protect the instrumentalities of interstate commerce, or persons or things in interstate
commerce, even though the threat may come only from intrastate activities." (cites
omitted). "Finally, Congress' commerce authority includes the power to regulate those
activities having a substantial relation to interstate commerce, .. . i.¢., those activities that
substantially affect interstate commerce." 5/4 U.S. at 558-559, citing Jones & Laughlin

Steel, supra, at 37,

The Court stated, “[t]he Constitution requires a distinction between what is truly national and

what is truly local, and there is no better example of the police power, which the Founders

undeniably left reposed in the states and denied the central government, than the suppression of
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violent crime and vindication of its victims. Congress therefore may not regulate noneconomic,
violent criminal conduct based solely on the conduct’s aggregate effect on interstate commerce.”
The Court also noted the long standing rule from Marbury v. Madison, 5 U.S. 137(1803), “[t]he
powers of the legislature are defined and limited; and those limits may not be mistaken or
forgotten, the constitution is written.” With that back drop the Court noted that even under the
expanded modern era precedents, the Commerce Clause has its limitation:

*...In Jones v. Laughlin Steel, the Court warned that the scope of the interstate commerce

power must be considered in the light of our dual system of government and may not be

extended so as to embrace effects upon interstate commerce so indirect and remote that to
embrace them, in view of our complex society, would effectually obliterate the
distinction between what is national and what is local and create a completely centralized
government.
The Court held, therefore, that the affect of the activity on commerce must be “substantial” for it
to fall into the regulatory ambit of the Federal government.

The Hobbs Act was drafted, specifically, with the intention that the prohibited conduct be
one that affects commerce as it was intended to empower the federal government to combat
organized crime. The Act is entitled :“Interference with Commerce by Threats or Violence.” It
requires in the body of the Act that the prohibited conduct “obstructs, delays or affects
commerce.” Specifically, the Hobbs Act was enacted to deal with the very real problem of the
‘“Yevy of blackmail on industry” committed by “professional gangsters.” United States v.
Harding, 563 F. 2d 299 (6"" Cir. 1977). Although the scope of authority of the Hobbs Act has
been expanded, it still requires proof of a minimal effect on commerce or a realistic probability

of an affect on commerce, United States v. Nelson, 486 F. Supp. 464 (1980).
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Defendant’s “No” vote on the initiative petition, which is the alleged act that was offered
for a price, has no realistic probability to affect commerce. A “No” vote, had it been in the
majority of either the House or Senate, would have sent the ballot initiative to a vote of the
general electorate. The voting citizens of Michigan would then have been the deciding votes on
the question of repealing the Prevailing Wage law. The fact that the initiative may have been
sent to a vote of the citizens of Michigan if a “No” vote by the defendant been in the majority in
no way implicates an impact on interstate commerce. How would a vote at a general election,
entirely by the citizens of the state of Michigan, on a Michigan initiative have any effect, even
remotely, on interstate commerce? A “No” vote by the defendant, in any event, would not have
affected the approval of the initiative by the House which passed the initiative by a 56 to 53 vote
(Indictment, para.11). A potential “No” vote by Representative Inman on the initiative had no de
minimus impact on commerce nor did it have a realistic probability to affect interstate commerce.

Count I must be dismissed.

b. Bribery
Defendant Inman is charged with Solicitation of a Bribe (Count 2) in violation of 18 U.S.C. sec
666(a)(1)(B). To establish this offense the government must prove:
a. the defendant was an agent of an organization, government or agency;
b. in a one-year period that organization, government or agency received federal benefits
in excess of $10,000;
c, defendant corruptly solicited or demanded for the benefit of any person, or accepted or
agreed to accept, anything of value from a person;

d. intending to be influenced or rewarded;
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e. in connection with any business, transaction, or series of transactions of such

organization, government, or agency;

f. the value of that property was at least $5,000. United States v. Abbey, 452 F. Supp 2d

766 (2006).

The Indictment does not allege that the Michigan House of Representatives qualifies as
an “organization, government or agency” that “ received federal benefits in excess of $10,000” in
the one-year period of time pre-dating or post-dating the charged offence. The reason why it is
unstated in the indictment and, presumptively, not established before the Grand Jury is that the
Michigan House of Representatives receives no Federal funds, The State of Michigan
Appropriations Summary and Analysis, a public record, for the relevant one year period pre-
dating and the relevant one year period post-dating the June 2018 vote reflects that the Michigan
House of Representatives received zero Federal dollars (Exhibit 1, Appropriations Summary and
Analysis 2017-2018, p. 57, 2018-2019, p, 51).

The indictment is artfully phrased to say defendant “being an agent of a State government
that received benefits in excess of $10,000 under a Federal program...” (Indictment paragraph
17). However, Defendant is not an “agent” of the State of Michigan. He is an elected member
of the Michigan House of Representatives. The Michigan House of Representatives is a separate
body politic from the State with its own budget, controlled by its members that receives funding
from Michigan taxpayers. Mr. Inman’s position does not make him an “agent” of the State of
Michigan. He does not have the authority or capacity to bind the State of Michigan. He is not
authorized to act on behalf of the State of Michigan. He is not an employee of the State of

Michigan. He is not a servant, partner, director, officer or manager of the State of Michigan. He
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is a “representative” in the House of Representatives. Technically, he is a representative of the
constituency of the 104" legislative district. (definition of “agent”, 18 USCS 666 (d)(1))

Mich. Const. art. 3, sec. 2 provides that the powers of government are divided into three
separate but equal branches, the legislative, the executive and the judicial. The focus in the
indictment is Mr. Inman’s role as an elected member of the House of Representatives
(Indictment, para. 1, 11) The Michigan House of Representatives is the “organization,
government or entity” that must be the recipient of Federal funds to allow for Federal
jurisdiction.

The statutory prohibition in 666 is entitled; “Theft or bribery concerning programs
receiving Federal funds.” The defendant must be “an agent” of a State, local or Indian tribal
government that is the recipient in any one year of $10,000 or more in state funds. In U.S. v.
Cieco, 938 F.2d 441 (1991), the government had to establish that the town of Guttenberg, NJ,
not the state of New Jersey, received more than $10,000 in Federal funds to bring it within the
ambit of the statute. In Cotton v, Banks, 310 Mich App 104(2015), the State of Michigan was
dismissed from an Elliot-Larsen suit brought by a former staff member against a Michigan
House Representative as the State could not be vicariously liable although the Court allowed the
House of Representatives to be added as a party defendant.

The intention of the statute is to protect federal funds from local misappropriation. The
history of the legislation shows that Congress was concerned with regulating the end uses of the
100s of 1000s of dollars provided to various entities by the Federal government so there could be
some assurance that the dollars were not being misused. “The goal was to protect federal funds
by authorizing federal prosecution of thefts and embezzlement from programs receiving

substantial federal support even if the property involved no longer belonged to the federal
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government.” U.S. v. Cicco, 938 F.2d 441 (1991). Thus, the intent of the federal statute was to
protect federal dollars from improper incursion by local entities that have access, custody or
control of the federal dollars.

In United States v. Baroni, 909 F. 3d 550 (2018), William Baroni , former Deputy
Executive Director of the New Jersey Port Authority, was charged under sec. 666 for his role in a
scheme to punish Mayor Sokolich of the borough of Fort Lee for not endorsing then governor
Chris Christie by reducing travel lanes on the George Washington bridge connecting New Jersey
and New York through the borough of Fort Lee. By reducing the dedicated three travel lanes to
one after the Mayor refused the request to endorse Christie, extraordinary gridlock occurred in
Fort Lee. The case became known as “Bridgegate”.

Baroni appealed his conviction under the statute arguing, among other things, that there
was no proof that he “obtained or converted” Port Authority property and that it was worth in
excess of $5,000. The Third Circuit Court of Appeals held that “conscripting fourteen Port
Authority employees to do sham work in pursuit of no legitimate Port Authority aim” was
sufficient proof of value in excess of $5,000 that was under the control of the governmental
entity to support the conviction. Although Baroni and Cicco were cases prosecuted under the
first portion of the statute (sec 666(a)(1)(A)), they still support that the prohibited acts be related
to property connected to an entity receiving federal funds above the threshold amount. This is
the intent and purpose of the regulation.

The “property” in question was Representative Inman’s vote which does not belong to
nor is it under the care, custody of control of the State of Michigan or the House of
Representatives, The governmental entity to which Representative Inman belongs is the

Michigan House of Representatives, which received no federal dollars in its budget. There is no
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federal jurisdiction under the mandates of 18 USCS 666 to prosecute the defendant in a federal

tribunal. Count 2 must be dismissed.

c. False statement to the FBI
Defendant is charged with lying to the FBI under 18 U.S.C. sec. 1001(a)(2) which states:
a) Except as otherwise provided in this section, whoever, in any matter within the
jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully--...
(2) makes any materially false, fictitious, or fraudulent statement or representation...
To be responsible for a violation under this section, the government must establish that the
FBI was within its jurisdiction at the time of the alleged statement. If the government lacks
jurisdiction to enforce Count I and Count II, then the matter is not within the jurisdiction of an
executive branch of the Government. The FBI was called in to investigate an alleged federal
offense. The government had the capacity to determine if there was an affect on commerce by
the text messages sent by Defendant Inman or if the Michigan House of Representatives
received $10,000 or more in federal funds before it obtained a search warrant for Mr. Inman’s

home and cellular phone. To the extent, the government cannot establish jurisdiction under

both Count | and Count 2, Count 3 must be dismissed.

Il. FALSE OR MISLEADING EVIDENCE WAS INTRODUCED TO THE GRAND
JURY WHICH INFRINGED ON DEFENDANT’S CONSTITUTIONAL
IMMUNITITES, PROTECTIONS AND RIGHTS AND RESULTED INA

CONSTITUTIONALLY DEFECTIVE INDICTMENT
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The indictment, in paragraph 4, states that the MRCCM made “political contributions to
the Defendant’s candidate committee totaling $6,000” between the dates of “October 17 and
May 16, 2018”. First, the MRCCM did not make $6,000 in contributions to Mr. Inman’s
campaign during the time alleged. A review of his Campaign Committee report, a public
document, shows donations totaling $2,000 all made before December 11 of 2017, fully six
months before the measure was approved for a vote by the Michigan House, (Exhibit 2). Per
Michigan statute, a Political Action Committee (PAC) may legally donate up to $10,000 to a
legislator’s campaign committee (MCL 169.252)

Even if additional funds were contributed to Mr. Inman’s campaign fund by MRCCM,
per the indictment the last such contribution was made before May 16, 2018. The Board of
State Canvassers had not even certified the initiative petition for a vote by this time. Thus,
no one of the contributions made by MRCCM were illegal or against the Campaign Finance
Act.

By introducing this evidence before the Grand Jury the government ran directly afoul of
the admonition of the United States Supreme Court in McCormick v. United States, 300 U.S.
257 (1991). “Campaign contributions will not be authorized as the subject of a Hobbs Act
prosecution unless they can be proven to have been given in return for the performance of or
abstracting from an official act, otherwise any campaign contribution might constitute a
violation.” By reciting legitimate campaign contributions from MRCCM to Defendant
Inman in the Indictment and then inferring in paragraph 10 of the indictment, “MRCCM
provided no additional campaign contributions to the Defendant’s candidate committee after
receiving Defendant’s text message on June 3, 2018”, impermissibly infers that the campaign

contributions received by Defendant Inman were somehow improper or illegal. It also
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buttresses the government’s argument in paragraph 17 that Mr. Inman’s vote had a value of
$5,000 or more.

Undoubtedly, based on the way the Indictment is written these arguments were used by
the government in front of the Grand Jury, thus, building a criminal case against Defendant
and influencing the Grand Jury to authorize charges against Defendant Inman based on
legitimate political contributions.

The Government in paragraph 11 states that Defendant Inman voted “Yes” on the
initiative and was, therefore, one of the majority who approved of the initiative petition,
brought by the citizenry, to repeal Prevailing Wage. Representative Inman has an absolute
immunity against prosecution for his vote. He also has an evidentiary privilege that bars the
introduction of his vote into evidence in any judicial proceeding. Representative Inman’s
“Yes” vote on the House floor cannot be subject to civil or criminal prosecution under the
Speech or Debate Clause, Art. 1 sec. 6 of the United States Constitution, United States v.
Brewster, 408 U.S. 501 (1972) (found to apply to state legislators, Article IV, Section 11 of
the Michigan Constitution, United States v. Nelson, 486 Supp 464 (USDC, MIWD 1980).
Defendant’s vote holds both substantive immunity and an evidentiary privilege. Defendant
has absolute immunity as to his vote and it cannot be used as evidence in a prosecution,
Nelson, supra.

The obvious intent in the way the Government drafted paragraphs 10 and 11 was to
suggest because Defendant Inman received no more campaign contributions from MRCCM
he elected to vote “Yes” to approve the initiative. This was (and is) highly prejudicial to
Defendant Inman and a violation of his Constitutional protections to not have his vote on the

House floor used against him and, particularly, not to have a recitation of legal campaign
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contributions tied to the vote allowing the government to argue to the Grand Jury that these
actions are illegally connected to an “extortion” plan by Mr. Inman.

There can be no doubt that these matters were introduced to the Grand Jury and, likely,
stressed as part of the Government’s argument that Defendant Inman is an extortionist. This
Indictment is constitutionally defective as a result of this impermissible evidence and must be
quashed. Fed Rules Crim Proc R 12(b)(A)(v).

To the extent the Court does not apply this remedy, these matters should be stricken from
the indictment as inadmissible evidence and impermissible argument. Further, the Defendant
requests the production of the entire Grand Jury proceedings so the effect of this

impermissible and unconstitutional argument by the government can be reviewed.

Ill. DEFENDANT REQUESTS THE COURT ORDER THE GOVERNMENT TO
IDENTIFY EVIDENCE IT INTENDS TO INTRODUCE TO THE JURY PURSUANT
TO FED R CRIM PROC
The government has produced a Forensic Report which, appears to have extracted every
piece of information from Mr. Inman’s cellular phone including his Calendar, Call Log,
Contacts, Locations, 2701 MMS messages, 9538 SMS messages, 2489 Data Files, etc.
Defense counsel could not possibly review this information in time to file motions in limine
regarding the evidentiary value or prejudicial substantial amount of text messages taken from
Mr. Inman’s phone. Many of these text messages are totally irrelevant to these proceedings.
Some of these messages have associated privileges such as attorney-client. But in short, the

Government should be ordered to specify precisely what information it intends to introduce
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from this extraction so that the Defendant has proper notice and time to file motions if

necessary as allowed by Rule 12(4)(B).

WHEREFORE, as to the offense alleged in Count I, there was no affect on commerce by
defendant’s alleged actions. As to Count II, the Michigan House of Representatives does not
receive Federal monies in excess of $10,000 in the relevant one year period prior to the offense
and does not fall under the jurisdiction of the federal statute. If there is no federal jurisdiction
as to Count I and II, defendant cannot be found responsible under Count III. All counts of the

Indictment lack required jurisdictional requirements and must be dismissed.

ADDITIONALLY, Defendant respectfully requests this Court to dismiss the indictment.
The campaign contributions allegedly received by Defendant’s Campaign Committee were
received prior to the certification of the referendum, which was required before it would ever
come to a vote. The use of these contributions in the indictment was a violation of Defendants
legitimate right to receive campaign contributions and a violation of the cautionary use of a
Hobbs Act prosecution. Further, the use of Defendant’s “yes” vote was a violation of his
immunities under the Speech and Debate Clause. These arguments impermissibly tainted the
Grand Jury and the indictment must be dismissed. Finally, the Court, if it does not dismiss the
indictment, should order a full transcription of the Grand Jury proceedings be produced to

Defendant so the intent and effect of these improper arguments to the Grand Jury may be

analyzed.
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FINALLY, Defendant respectfully request this Court to require the Government to
specify the evidence it intends to introduce at trial so Defendant may bring proper and timely

motions in limine if necessary.

June 18, 2019

ectfully,

} Sa
Christopher K. Cooke (P35034)
Neumann Law Group

 
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STATE OF MICHIGAN
FISCAL YEAR 2017-18

Appropriations
Summary and Analysis

 

HOUSE L
FISCAL
"a AGENCY
Mary Ann Cleary, Director

AUGUST 2017
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HOUSE FISCAL AGENCY

GOVERNING COMMITTEE
Laura Cox Fred Durhal III
Tom Leonard Sam Singh
Dan Lauwers Christine Greig

MICHIGAN HOUSE OF REPRESENTATIVES
APPROPRIATIONS COMMITTEE

Laura Cox, Chair Roger Victory
Rob VerHeulen, Vice-Chair Mary Whiteford
Chris Afendoulis Jeff Yaroch
Sue Allor Fred Durhal III, Minority Vice-Chair
John Bizon Tom Cochran
Tommy Brann Pam Faris
Edward Canfield, D.O. Jon Hoadley
Shane Hernandez Robert Kosowski
Larry Inman David LaGrand
Tim Kelly Kristy Pagan
Kimberly LaSata Ronnie Peterson
Steve Marino Yousef Rabhi
Aaron Miller Sylvia Santana
Dave Pagel Henry Yanez

Scott VanSingel
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STATE OF MICHIGAN
HOUSE OF REPRESENTATIVES

   

HOUSE FISCAL AGENCY
MARY ANN CLEARY, DIRECTOR GOVERNING COMMITTEE
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PHONE: (517) 373-8080 o Fax: (517) 373-5874 TOM LEONARD, VC SAM SINGH
www, house.mi.gov/hfa DAN LAUWERS CHRISTINE GREIG

August 2017

TO: Members of the Michigan House of Representatives

FROM: Mary Ann Cleary, Director

This FY 2017-18 Appropriations Summary and Analysis summarizes the enacted FY 2017-18 state
budget. A Glossary, following the table of contents, explains terms used throughout this report to
describe Michigan's budget. The Budget Overview provides information on resources used and major
funding changes in the enacted FY 2017-18 budget; summary tables of appropriated funds and fund
sources are also included. Budget Detail pages note major budget and boilerplate changes for each
budget area.

When analyzing the budget, it is important to note the following:

Adjusted Gross is the amount to use when measuring the total amount of funding included in
the state budget {including spending from federal sources).

State Spending from State Sources (State Restricted plus GF/GP) is the amount to use when
measuring the amount of state resources collected from taxpayers to finance state spending.

General Fund/General Purpose (GF/GP} jis the amount to use when measuring unrestricted
state resources available for legislative allocation to various state programs.

Information in the Budget Defail section was provided by HFA Analysts; report production was
coordinated by Kathryn Bateson, Administrative Assistant. House Fiscal Agency staff and their areas
of responsibility are listed on the inside back cover of this publication. Please feel free to contact them,
or me, if you have questions or need further information.
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BUDGET DETAIL

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Technology, Management, and BUdGet.................cccccsccccsessssecsecececessesneeeeeesesscenseeseceseesseeees 62
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Talent and Economic Development..................:::ccceeeecceeeeseseeceeeeeeceenscnseeeeeeesesensneeeeeeessseneens 73
Health and HUMAN Service ............ ccc ccceeeccescccceceeeceeececcceuecceeccesecceseccessesseeeeessseeseeeeseesseeeeeeeees 79
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State Police... eee ccc cece ccccecceescceeseeessesesussesensecssssesesssacsusesssseeeessaccssecsaseesesecenaccentseeensaere 130

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GENERAL GOVERNMENT: LEGISLATURE

LEGISLATURE
Summary of FY 2017-18 Enacted Appropriations
Article VIII, 2017 Public Act 107 (House Bill 4323)
Analyst: Ben Gielczyk

Difference: Enacted

 

 

 

 

 

 

 

FY 2016-17 YTD FY 2017-18 FY 2017-18 FY 2017-18 FY 2017-18 From FY 2076-17 YTD

as of 2/8/17 Executive House Senate Enacted Amount %

IDGADT $0 $0 $0 $0 $0 $0 —-
Federal 0 0 0 0 0 0 -
Local 0 0 0 0 0 0 =
Private 400,000 400,000 400,000 400,000 400,000 0 0.0
Restricted 4,275,800 4,277,700 4,277,700 4,277,700 4,277,700 1,900 0.0
GFIGP 143,227,800 150,297,100 148,897,100 150,597,100 150,597,100 7,369,300 5.7
Gross $147,903,600  $154,974,800  $153,574,800 $155,274,800  $155,274,800 $7,377,200 5.0

Notes: (1) FY 2016-17 year-to-date figures include mid-year budget adjustments through February 8, 2017. (2) Appropriation
figures for all years include all proposed appropriation amounts, including amounts designated as "one-time."

Overview

This budget provides funding for the Legislative branch of state government, including the Legislative Council and
agencies it governs, the Legislative Retirement System, and Property Management. The Legislature enacts the laws of
Michigan, levies taxes, and appropriates funding from revenue collected for the support of public institutions and the
administration of the affairs of state government. The Legislative Council provides a wide variety of essential services to
members and staff of the Legislature. The Michigan Legislative Retirement System provides retirement allowances,
survivors’ allowances, and other benefits for members of the Legislature and their spouses, dependents, survivors, and
beneficiaries. Property Management employees maintain, operate, and repair the House of Representatives Office
Building, and Senate Office Building. The Michigan State Capitol Historic Site includes the Capitel Building, its grounds
and parking lot, and the Michigan State Capito! Commission.

FY 2016-17 YTD Enacted Change

 

Major Budget Changes from FY 2016-17 YTD Appropriations (as of 2/8/17) From YTD
1, Legislature Operations Gross $147,903,600 $10,492,000
Includes $10.5 million Gross ($10.5 million GF/GP) to reflect increased Private 400,000 0
costs related to legislative staff and other operations. Restricted 4,275,800 1,900

GFIGP $143,227,800 $10,490,100
2. Legisiative information Technology Systems Design Project Gross $6,000,000 ($3,000,000)

Includes $3.0 million GF/GP in one-time funding to support the design, GF/GP $6,000,000 ($3,000,000)
development, and implementation of a legislative-wide integrated

computer system. This represents a decrease of $3.0 million GF/GP from

current year funding. The funds supplement a total of $9.0 million GF/GP

appropriated in FYs 2015-16 and 2016-17.

3. Criminal Justice Policy Commission Study Gross $500,000 ($500,000)
Removes $500,000 GF/GP in FY 2016-17 one-time appropriations GF/GP $500,000 ($500,000)
associated with the Criminal Justice Policy Commission study on the

costs and savings of redirecting 17-year-olds from the adult court to the

family court and juvenile justice systems.

4. Legisiative Corrections Ombudsman Gross $729,200 $229,200
Includes $229,200 GF/GP increase in ongoing funding to augment current GF/GP $729,200 $229,200
Ombudsman operations.

5. Michigan Veterans Facility Ombudsman Gross $150,000 $150,600
Includes $150,000 GF/GP increase to augment Michigan Veterans GF/GP $150,006 $150,000

Facility Ombudsman operations.

FY 2017-18 APPROPRIATIONS SUMMARY AND ANALYS!S
HOUSE FISCAL AGENCY: AUGUST 2017 BUDGET DETAIL: PAGE 57
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STATE OF MICHIGAN
FISCAL YEAR 2018-19

Appropriations
Summary and Analysis

    

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Mary Ann Cleary, Director

JULY 2018
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HOUSE FISCAL AGENCY
GOVERNING COMMITTEE

Laura Cox Fred Durhal III
Tom Leonard Sam Singh
Dan Lauwers Christine Greig

MICHIGAN HOUSE OF REPRESENTATIVES
APPROPRIATIONS COMMITTEE

Laura Cox, Chair Roger Victory
Rob VerHeulen, Vice-Chair Mary Whiteford
Chris Afendoulis Jeff Yaroch
Sue Allor Fred Durhal III, Minority Vice-Chair
John Bizon Tom Cochran
Tommy Brann Pam Faris
Edward Canfield, D.O. Jon Hoadley
Shane Hernandez Robert Kosowski
Larry Inman David LaGrand
Tim Kelly Kristy Pagan
Kimberly LaSata Ronnie Peterson
Steve Marino Yousef Rabhi
Aaron Miller Sylvia Santana
Dave Pagel Henry Yanez

Scott VanSingel
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STATE OF MICHIGAN
HOUSE OF REPRESENTATIVES

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HOUSE FISCAL AGENCY
MARY ANN CLEARY, DIRECTOR GOVERNING COMMITTEE
P.O. Box 30014 5 LANSING, MICHIGAN 48909-7514 LAURA Cox, CHAIR FRED DURHAL III, MVC
PHONE: (517) 373-8080 o Fax: (517) 373-5874 Tom Leonarp, VO SAM SINGH
www.house.mi.gov/hfa DAN LAUWERS CHRISTINE GREIG

July 2018

TO: Members of the Michigan House of Representatives

FROM: Mary Ann Cleary, Director

This FY 2018-19 Appropriations Summary and Analysis summarizes the enacted FY 2018-19 state
budget. A Glossary, following the table of contents, explains terms used throughout this report to
describe Michigan's budget. The Budget Overview provides information on resources used and major
funding changes in the enacted FY 2018-19 budget; summary tables of appropriated funds and fund
sources are also included. Budget Detail pages note major budget and boilerplate changes for each
budget area.

When analyzing the budget, it is important to note the following:

Adjusted Gross is the amount to use when measuring the total amount of funding included in
the state budget (including spending from federal sources).

State Spending from State Sources (State Restricted plus GF/GP) is the amount to use when
measuring the amount of state resources collected from taxpayers to finance state spending.

General Fund/General Purpose (GF/GP) is the amount to use when measuring unrestricted
state resources available for legislative allocation to various state programs.

Information in the Budget Detail section was provided by HFA Analysts; report production was
coordinated by Kathryn Bateson, Administrative Assistant. House Fiscal Agency staff and their areas
of responsibility are listed on the inside back cover of this publication. Please feel free to contact them,
or me, if you have questions or need further information.
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FY 2018-19 GF/GP Distribution ...............:ccccccccsssessssssscersceessessesssessssssessssensscssasseeessessneronee 13
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BUDGET DETAIL

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Community Colleges. .............:sssssssssscssscscssscscsssccseetesneasssnascssesesseestsnnanaseesvseeensneeeneauenegaeensseseananensas 26
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Education (DEpartment).........cccccccseccssesccccccesssessscnssenssceessesensscsesssesssesusssusceesensssseessesseesneueceneeneees 35
Environmental Quality... cessceeeseessseeesseeeerseccccerssenssoseeessesassotaesesesasuensasensssnersssneasaneneeesensens 40
General Government Totals 0.0... cecccccesssssecessseceseseccceseaceeesncaesessnaaeessonceseneseeeennserearessasasuapsanagna 44
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Civil RIQKKS .........::csssscccssessssssssceeeneseeseeeessnseneessnsossessassessessccceuacsasenracscssssssaneeesressreusaseaseessaeenes 48
Executive OFFICE ........scccssssssesscssescecssrccsceessecesscesseesetssesnseeesseessssosssossoveeeseesseassenscunensnansnnnaseens 49
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Legislative AUdItOr GENeral.........ssssssscsscscssssscssssesssnsesessnssssssssscssessnerntersserssseessnntsennntensinads 54
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Talent and Economic Development............cscssssssessecscesscccesscsssressseesessesnseeessessssssasenssssseesees 69
Health and Human S@rvices ............ccccsscssessesssnnessssnnsesesnansensccceseesedeceenscuaesossauseesessuesennsantarsesesees 75
Higher Equcattion ............:cssssssesssccsccetsscssccscentscsescesesseescseacseassususstesseesscesscesseensenseeeeeeeeenneennepnageaages 92
Insurance and Financial Services............-csssecssccessssscseeenssssasannsnnsanenssnensscecsneeonsasevesaeousnsesssaeeseees 97
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Licensing and Regulatory Affalrs....................ccccscesssstssssssccetaccoececesscesesccenensesenaeenusenonsucesnsenevesanens 102
Military and Veterans Affairs... cccsccesesssetssssssseesessesssessesssenseeasserssseesseauseesesneasensseesesnsaes 105
Natural RESOUICES ..........ccsccssssssssssscssessseransesnevsaseensenscesscessccoesusneuneedesedessesseasoueesesasendsonessnenennsnas 108
SCHOOL Aid .u........ssssseceesesseeensereererseseesssesnnneesnsssseeencccceccnccceeneneenecsssedaaessssneesssscadeesennaeaesscesereseeseeess 113
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GENERAL GOVERNMENT: LEGISLATURE

LEGISLATURE
Summary of FY 2018-19 Enacted Appropriations
Article VIII, 2018 Public Act 207 (Senate Bill 848)

Analyst: Ben Gielczyk

Difference: Enacted

 

 

 

 

 

 

 

FY 2017-18 YTD FY 2018-19 FY 2018-19 FY 2018-19 FY 2018-19 From FY 2017-18 YTD

as of 2/7/18 Executive House Senate Enacted Amount %
IDGIBT $0 30 $0 $0 $0 $0 -
Federal 0 0 0 0 0 0 -
Local 0 0 0 0 0 o _
Private 400,000 400,000 400,000 400,000 400,000 o 0.0
Restricted 4,277,700 4,394,300 4,394,300 4,394,300 4,394,300 176,600 2.7
GF/GP 150,597,100 152,487,500 152,487,500 152,718,300 153,318,200 2,721,700 1.8
Gross $155,274,800 $157,281,800  $157,281,800 $157,512,600 $158,112,500 $2,837,700 1.8
FTEs 0.0 0.0 0.0 0.0 0.0 0.0 -

Notes: (1) FY 2017-18 year-to-date figures Include mid-year budget adjustments through February 7, 2078. (2) Appropriation
figures for all years include all proposed appropriation amounts, including amounts designated as “one-time.”

Overview

This budget provides funding for the Legislative branch of state government, including the Legislative Council and
agencies it governs, the Legislative Retirement System, and Property Management. The Legislature enacts the laws of
Michigan, levies taxes, and appropriates funding from revenue collected for the support of public institutions and the
administration of the affairs of state government. The Legislative Council provides a wide variety of essential services to
members and staff of the Legislature. The Michigan Legislative Retirement System provides retirement allowances,
survivors’ allowances, and other benefits for members of the Legislature and their spouses, dependents, survivors, and
beneficiaries. Property Management employees maintain, operate, and repair the Cora Anderson House of
Representatives Office Building and Binsfietd Senate Office Building. The Michigan State Capitol Historic Site includes
the Capitol Building, its grounds and parking lot, and the Michigan State Capitol Commission.

FY 2017-18 YTD Enacted Change

 

Major Budget Changes from FY 2017-18 YTD Appropriations {as of 2/7/18) From YTD
7. Legislature Operations Gross $155,274,800 $5,087,700
Reflects increased costs of $5.1 million Gross (35.0 million GF/GP) Private 400,000 0
related to Legislative staff and other operations. Restricted 4,277,700 116,600

GFIGP $150,597,100 $4,971,100
2, Legislative Information Technology Systems Design Project Gross $3,000,000 ($2,250,000)

Includes a net reduction of $2.3 million GF/GP in one-time appropriations GF/GP $3,000,000 ($2,250,000)
related to operational and implementation costs associated with the

Legislative IT System Design Project. Replaces $3.0 million in

FY 2017-18 one-time appropriations with $750,000 GF/GP in FY 2018-19

one-time appropriations.

Major Boilerplate Changes from FY 2017-18

There are no major boilerplate changes in FY 2018-19.

FY 2018-19 APPROPRIATIONS SUMMARY AND ANALYSIS
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GENERAL GOVERNMENT: LEGISLATIVE AUDITOR GENERAL

LEGISLATIVE AUDITOR GENERAL
Summary of FY 2018-19 Enacted Appropriations
Article VIII, 2018 Public Act 207 (Senate Bill 848)

Analyst: Ben Gielezyk

Difference: Enacted

 

 

 

 

 

 

 

FY 2017-18 YTD FY 2018-19 FY 2018-19 FY 2018-19 FY 2018-19 From FY 2077-18 YTD

as of 2/7/18 Executive House Senate Enacted Amount %
IDGADT $5,709,200 $5,823,400 $5,823,400 $5,823,400 $5,823,400 $114,200 2.0
Federal 0 0 0 0 0 0 _
Local 0 0 0 0 0 0 -
Private 0 0 0 0 0 0 -
Restricted 1,969,400 2,008,800 2,008,800 2,008,800 2,008,800 39,400 2.0
GFIGP 16,607,600 17,105,800 17,855,800 17,105,800 17,105,800 498,200 3.0
Gross $24,286,200 $24,938,000 $25,688,000 $24,938,000 $24,938,000 $657,800 2.7
FTEs 0.0 0.0 0.0 0.0 0.0 0.0 -

Notes: (1) EY 2017-18 year-to-date figures include mid-year budget adjustments through February 7, 2018. (2) Appropriation
figures for all years include all proposed appropriation amounts, including amounts designated as “one-time.”

Overview

The Legislative Auditor General is responsible for conducting post financial and performance audits of state government
operations. Audit reports provide a continuing flow of information to assist the Legislature in its oversight of approximately
100 individual state funds. Audit reports provide citizens with a measure of accountability and assist state departments
and agencies in improving financial management of their operations. The goal of the Legislative Auditor General is to
improve accounting and financial reporting practices and promote effectiveness, efficiency, and economy in state
government. The mission is to improve the accountability of public funds and to improve the operations of state
government for the benefit of the citizens of the state.

FY 2017-18 YTD Enacted Change

Major Budaet Ghanges from FY 2017-18 YTD Appropriations {as of 2/7/18) From YTO
1. Auditor General Operations Gross $24,286,200 $651,800
Reflects increased costs of $651,800 Gross ($498,200 GF/GP) related to IDG 5,709,200 114,200
Auditor General staff and other operations. Restricted 1,969,400 39,400

GF/GP $16,607,600 $498,200

Major Boilerplate Changes from FY 2017-18
There are no major boilerplate changes in FY 2018-19.

FY 2018-19 APPROPRIATIONS SUMMARY AND ANALYSIS
HOUSE FISCAL AGENCY: JULY 2018 BUDGET DETAIL: PAGE 51
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| Jocelyn Benson, Secretary of State

Department of State

 

(http://www.michigan.gov/sos/0,1607,7-127----,00.html)
Michigan Campaign Statement Contributions

= Committee Name: LARRY INMAN FOR STATE REPRESENTATIVE
© Statement Type: AMENDED ANNUAL CS

© Statement Year: 2018

& Schedule: ITEMIZED DIRECT CONTRIBUTIONS

Matches 1 — 28 of 28

Committee Schedule City
Receiving Committee ID-Type Type Description Received From State Zip
LARRY INMAN FOR STATE REPRESENTATIVE 516451- DIRECT MICH BEER AND LANSING
(nttps://cfrsearch.nictusa.com/committees/516451) CAN WINE WS PAC MI 48933
332 TOWNSEND
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ADMINISTRATOR
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PARK DRIVE
LARRY INMAN FOR STATE REPRESENTATIVE 516451- DIRECT MICHIGAN LANSING
(https://cfrsearch.nictusa.com/committees/516451) CAN CHAMBER PAC MI 48933
600 WALNUT
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(https://cfrsearch.nictusa.com/committees/516451) CAN COUNCIL OF MI 48243
CARP PAC
400 TOWER
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(nttps://cfrsearch.nictusa.com/committees/516451) CAN CON VOTERS MI 48103
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LARRY INMAN FOR STATE REPRESENTATIVE 516451- DIRECT BLUE CROSS LANSING
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Date

11/03/2017

11/13/2017

12/11/2017

10/24/2017

10/24/2017

10/27/2017

11/30/2017

11/02/2017

Amount

$2,500.01

$1,000.01

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$750.00

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Receiving Committee

LARRY INMAN FOR STATE REPRESENTATIVE
(https://cfrsearch.nictusa.com/committees/516451)

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Committee
ID-Type

516451-
CAN

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Schedule

Type Description

DIRECT

DIRECT

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Received From

MICH REGIONAL
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CARP PAC

400 TOWER
RENAISSANCE
CENTER SUITE
1010

CLARK HILL PAC
500 WOODWARD
STE 3500

MICH
AGGREGATES
ASSOC PAC

6015 ST. JOE HWY
103

MICH ASSOC OF
NURSE
ANESTHETISTS
1390
EISENHOWER
PLACE

SANFORD
SZIRTES

29717 DEED RUN
CEO
HEALTHCALL

CMS ENERGY
CORP
EMPLOYEES
ONE ENERGY
PLAZA EP8-267

ASSOC BUILDERS
& CONTRACTOR
PAC

230 N
WASHINGTON SQ
STE 202

COUNTY ROAD
ASSOC ROADS
PLUS

417 SEYMOUR
AVE. SUITE 1

DYKEMA
GOSSETT STATE
PAC

201 TOWNSEND
STREET SUITE 900

MICHIGAN
MANUFACTURERS
ASSOC

620 S. CAPITAL
AVE

DELTA PAC
PO. BOX

KAROUB ASSOC
PAC

121 W. ALLEGAN
STREET

City
State Zip

DETROIT
MI 48243

DETROIT
MI 48226

LANSING
MI 48917

ANN ARBOR
MI 48108

FARMINGTON
HILLS
MI 48331

JACKCON
MI 49201

LANSING
MI 48933

LANSING
MI 48933

LANSING
MI 48933

LANSING
MI 48901

OKEMOS
MI 48805

LANSING
MI 48933

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Date

10/27/2017

10/30/2017

11/02/2017

10/26/2017

10/27/2017

11/10/2017

11/09/2017

11/03/2017

11/02/2017

11/07/2017

10/23/2017

12/01/2017

Amount

$500.00

$250.00

$250.00

$250.00

$250.00

$250.00

$150.00

$150.00

$150.00

$150.00

$150.00

$150.00

2/3
6/17/2019

Racaiving Committea

LARRY INMAN FOR STATE REFRESENTATIVE
(https://cfrsearch.nictusa.com/committeas/516451)

LARRY INMAN FOR STATE REPRESENTATIVE
(https://cfrsearch.nictusa.com/committeas/516451)

LARRY INMAN FOR STATE REPRESENTATIVE

{https://cfrsearch.nictusa.com/committees/516451)

LARRY INMAN FOR STATE REPRESENTATIVE
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LARRY INMAN FOR STATE REPRESENTATIVE
(https://cfrsearch.nictusa.com/committees/516451)

LARRY INMAN FOR STATE REPRESENTATIVE
(https://cfrsearch.nictusa.com/committeas/516451)

LARRY INMAN FOR STATE REPRESENTATIVE
(hitps://cfrsearch.nictusa.com/committees/516451)

LARRY INMAN FOR STATE REPRESENTATIVE
(https://cfrsearch,nictusa.com/committees/516451)

Matches 1 — 28 of 28

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Committee
ID-Type

516451-
CAN

516451-
CAN

5S16451-

CAN

516451—
CAN

§16451-
CAN

516451-
CAN

516451-
CAN

§16451-
CAN

Schedule
Type

DIRECT

DIRECT

DIRECT

DIRECT

DIRECT

DIRECT

DIRECT

DIRECT

Dascription

Received From

DANIELLE BRUCI
28201 RUEHLE
SALES

STRYKER
MEDICAL

RHONDA GANT
6830 HOLMES
HWY
CONSULTANT
GRANT
CONSULTING
GROUP LLC

KERRY

KAYSSERIAN
1742 N WEST
SILVER LAKE

CENTURYLINK ING
EMPLOY PAC

1099 NEW YORK
AVE

MELISSA CUPP
230 N.
WASHINGTON
SQUARE SUITE
200

ELIZABETH WEIHL
230 N
WASHINGTON
SQUARE SUITE200

PETER RUDDELL
230 N.
WASHINGTON
SQUARE SUITE
200

KEVIN FAGAN
14320
KERCHEVAL

City
State Zip

ST. CLAIR
SHORES
Mi 48081

EATON
RAPIDS
MI 48827

TRAVERSE
CIiry
MI 49685.

WASHINGTON
oc 20001

LANSING
MI 48933

LANSING
MI 48933

LANSING
Mi 48933

DETROIT
MI 48068

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Date

70/24/2017

10/31/2017

10/23/2017

11/08/2017

11/01/2017

11/01/2017

11/01/2017

12/06/2017

Amount

$160.00

$150.00

$100.00

$100.00

$50.00

$50.00

$50.00

$5.00

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